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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  HASSAN CHERRY,                            CIVIL ACTION NO. 09-1499 (MLC)

        Plaintiff,                                 ORDER & JUDGMENT

        v.

  COUNTY OF MIDDLESEX, et al.,

        Defendants.


       For the reasons stated in the Court’s September 5, 2012

 Opinion, IT IS on this         5th    day of September, 2012, ORDERED

 that the Report & Recommendation (dkt. entry no. 98) is ADOPTED as

 the Court’s findings of fact and conclusions of law; and

       IT IS FURTHER ORDERED that the motion to dismiss by the

 defendants County of Middlesex New Jersey, Middlesex County Adult

 Correction Center, Edward Chicchi, M. Rodziewicz, Paul M. De

 Amicis, R. Christiansen, and C. Barth (dkt. entry no. 89) is

 GRANTED; and

       IT IS FURTHER ORDERED that the motion to dismiss by the

 defendant Joseph Graffagnino (dkt. entry no. 91) is GRANTED; and

       IT IS FURTHER ORDERED that the motion to dismiss by the

 defendants County of Middlesex Board of Freeholders and

 Freeholder(s) Assigned to and/or in Charge of the Middlesex County

 Adult Correction Center (dkt. entry no. 92) is GRANTED; and
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       IT IS FURTHER ORDERED that the motion to dismiss by the

 defendant James Shapiro (dkt. entry no. 93) is GRANTED; and

       IT IS FURTHER ORDERED that the motion to dismiss by defendant

 Michael Delanoy (dkt. entry no. 94) is GRANTED; and

       IT IS FURTHER ORDERED that the motion to dismiss by defendants

 B. Bavosa and Arthur Brown (dkt. entry no. 95) is GRANTED; and

       IT IS FURTHER ORDERED that the motion to dismiss by defendant

 Scott Napravnik (dkt. entry no. 96) is GRANTED; and

       IT IS FURTHER ADJUDGED that the Second Amended Complaint (dkt.

 entry no. 61) is DISMISSED; and

       IT IS FURTHER ORDERED that the Clerk of the Court designate

 this action as TERMINATED insofar as it has been brought against

 the fictional defendants “MARY DOES 1-30”, “JOHN SMITHS 1-30”, and

 “MARY SMITHS 1-30”; and

       IT IS FURTHER ORDERED that the Clerk of the Court designate

 this action CLOSED.



                                             s/ Mary L. Cooper        .
                                          MARY L. COOPER
                                          United States District Judge




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